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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA : SEALED INDICTMENT
- Vv. 7 ; 20 Cr.
STEPHEN BANNON, : 20 cr 412
ANDREW BADOLATO, and
TIMOTHY SHEA,
Defendants.
COUNT ONE

(Conspiracy to Commit Wire Fraud)
The Grand Jury charges:
Overview

1. BRTAN KOLFAGE, STEPHEN BANNON, ANDREW BADOLATO, and
TIMOTHY SHEA, the defendants, and others, orchestrated a scheme to
defraud hundreds of thousands of donors, including donors in the
Southern District of New York, in connection with an online
crowdfunding campaign ultimately known as “We Build The Wall” that
raised more than $25,000,000 to build a wall along the southern
border of the United States. To induce donors to donate to the
campaign, KOLFAGE and BANNON - each of whom, as detailed herein,
exerted significant control over We Build the Wall - repeatedly
and falsely assured the public that KOLFAGE would “not take a penny

in salary or compensation” and that “100% of the funds raised .

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will be used in the execution of our mission and purpose” because,
as BANNON publicly stated, “we're a volunteer organization.”

2. Those representations were false. fn truth, BRIAN
KOLFAGE, STEPHEN BANNON, ANDREW BADOLATO, and TIMOTHY SHEA, the
defendants, collectively received hundreds of thousands of dollars
in donor funds from We Build the Wall, which they each used in a
manner inconsistent with the organization’ s public
representations. In particular, KOLFAGE covertly took more than
$350,000 in funds that had been donated to We Build the Wall for
hig personal use, while BANNON, through a non-profit organization
under his control (“Non-Profit-1"), received over $1,000,000 from
We Build the Wall, which BANNON used to, among other things,
secretly pay KOLFAGE and to cover hundreds of thousands of dollars
in BANNON’s personal expenses. To conceal the payments to KOLFAGE
from We Build the Wall, KOLFAGE, BANNON, BADOLATO, and SHEA devised
a scheme to route those payments from We Build the Wall to KOLFAGE
indirectly through Non-Profit-1 and a shell company under SHEA’ s
control, among other avenues. They did so by using fake invoices

and sham “vendor” arrangements, among other ways, to ensure, as

_KOLFAGE noted in a text message to BADOLATO, that his pay

arrangement remained “confidential” and kept on a “need to know”

basis.
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Background on We Build the Wall

3. On or around December 17, 2018, BRIAN KOLFAGE, the
defendant, with the assistance of others, Launched a fundraising ~
campaign, originally called “We the People Build the Wall,” ona
crowdfunding website (the “Crowdfunding Website”). According to
statements on the webpage for “We the People Build the Wall” on
the Crowdfunding Website, the campaign was raising funds to donate
to the United States Federal government for construction of a wall
at the southern border of the United States. The webpage also
stated that “100% of your donations” would be given to the
government for the construction of a wall, and that if the campaign
could not attain its goal, it would “refund every single penny.”

4, The “We the People Build the Wall” campaign was an.
immediate fundraising success. Within the first week, BRIAN
KOLFAGE, the defendant, with the assistance of TIMOTHY SHEA, the
defendant, raised approximately $17,000,000. Despite its early
success, the- campaign also drew scrutiny, including questions
about KOLFAGE’s background and the campaign’s plan to give the
money raised to the federal government for the purpose of
constructing a wall at the southern border of the United States.

5. Based on those concerns, in or around December
2018, the Crowdfunding Website suspended the campaign - which by
that point had raised more than $20,000,000 — and warned BRIAN

KOLFAGE, the defendant, that unless he identified a legitimate
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non-profit organization into which those funds could be
transferred, the Crowdfunding Website would return the funds.

6. Around the same time, BRIAN KOLFAGE, the defendant,
involved STEPHEN BANNON and ANDREW BADOLATO, the jefendants, in
the leadership of the campaign. BANNON, 4 political strategist
and former media executive, and BADOLATO, an entrepreneur and
venture capitalist, were already working together on Non-Profit-
1, which was a separate Section 501L{(c) (4) organization founded by
BANNON with the stated purpose of promoting economic nationalism
and American sovereignty.

7. Within days of becoming involved, STEPHEN BANNON
and ANDREW BADOLATO, the defendants, took significant control of
the fundraising campaign’ s organization and day-to-day activities,
including its finances, messaging, donor outreach, and general
operations. - Specifically, in or around late December 2018, BANNON
and BADOLATO, working with BRIAN KOLFAGE, the defendant, oversaw
the creation of a new Section 501(c) (4) organization —- We Buiid

the Wall Inc. - to which they proposed that the money that had

been raised by “We the People Build the Wall" could be transferred.

BANNON, BADOLATO, and KOLFAGE formed We Build the Wall Inc. to
continue fundraising activities relating to wall construction,
with the modified purpose of funding the private construction of

a wall along the southern border of the United States.

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8. Moreover, BRIAN KOLFAGE, STEPHEN BANNON, and ANDREW
BADOLATO, the defendants, made and caused to be made a series of
representations and gave assurances to the Crowdfunding Website
“intended to induce the Crowdfunding Website to release the donor
funds to We Build the Wall. These assurances included, among
other things, written bylaws with conflict of interest provisions
and compensation restrictions precluding insiders like KOLFAGE,
among others, from improperly misappropriating donor funds, and a
promise that “Kolfage will take no salary” and “will personally
not take a penny of compensation from these donations.” KOLFAGE,
BANNON and BADOLATO also agreed that donors would have to “opt in”
to having their contribution redirected from the Crowdfunding
Website to We Build the Wall.

The Use of We Build the Wall to Perpetrate the Fraud

9. Beginning in January 2019, BRIAN KOLFAGE, STEPHEN
BANNON, ANDREW BADOLATO, and TIMOTHY SHEA, the defendants, caused
We Build the Wall to mislead donors, promising them repeatedly
that *100 percent” of the Funds would be used for construction of
a wall and that KOLFAGE, in particular, would take no salary or
compensation from the new organization. Contrary to the
representations both to donors and to the Crowdfunding Website,
KOLFAGE, BANNON, BADOLATO, and SHEA worked together to
misappropriate hundreds of thousands of dollars of those funds for

their own personal benefit.
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10, Beginning on oF around January 11, 2019, and
consistent with the assurances provided to the Crowdfunding
Website, We Build the Wall announced ‘that it had changed its
mission co the private construction of a wall, and that donors
needed to “opt in” to having their donation transferred to We Build
the Wall for this purpose. In essence, under We Build the Wall’s
agreement with the Crowdfunding Website, BRIBN KOLFAGE, STEPHEN
BANNON, and ANDREW BADOLATO, the defendants, had to effectively
re-raise the approximately $20,000,000 they had already raised
from donors by convincing them to “opt in” and thereby permit their
donations to pe transferred to We Build the Wall.

LL. To do so, BRIAN KOLFAGE, STEPHEN BANNNON, and
ANDREW BADOLATO, the defendants, caused We Build the Wail to
promise donors that “100% of funds raised” would be used toward
the construction of a wall, and that not a “penny” would be used
to compensate KOLFAGE, That promise was repeatedly made in donor
solicitations, public statements, social media posts, and press
appearances by KOLFAGE and BANNON, and others acting at KOLFAGE'S,
BANNON’s, and BADOLATO’s direction. For example, We Build the
Wall's website told prospective donors that, “in accordance with
Mr. Kolfage’s personal pledge and the Bylaws. .- : Mr. Kolfage
will not profit even a penny From We Build the Wall Inc.” °‘KOLFAGE
similarly and repeatedly promised in fundraising solicitation

emails, which BANNON and BADOLATO reviewed and approved, that he
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would “not take a penny in salary or compensation.” KOLFAGE posted
messages on social media that included representations such as:
We promised 100% of the funds raised on [the Crowdfunding Website]
only go towards border wall construction,” “All money donated to
the [We Build the Wall] campaign goes directly to wall!!! Not
anyone's pocket,” and “I'm taking nothing! Zero.” In fact,
KOLFAGE went so far as to gend mass emails to his donors asking
them to purchase coffee from his unrelated business, telling donors
that the coffee company was the only way “he keeps his family fed
and a roof over their head,” because KOLFAGH was taking “no
compensation” from We Build the Wall.

12. KOLFAGE also touted the bylaws chat we Build the
Wall had ratified at the request of the Crowdfunding Website,
saying publicly and in media interviews, for example, “It states
in our bylaws I take $0 no salary no compensation,” and “I won't
take a penny from these donations” and “Tt’s not possible to steal
the money... . We have an advisory committee. ...T can’t touch
that money. It’s not for me. We have bylaws get up.”

13. BRIAN KOLFAGE, STEPHEN BANNON, and ANDREW BABOLATO,
the defendants, and others acting at their direction, approved
these statements — which were false - precisely because they
understood and expected that donors would rely upon these
representations, which were intended to maximize the fundraising

potential of We Build the Wall. Indeed, in developing their
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strategy of emphasizing to donors that KOLFAGE would “not be paid
a dime,” BANNON and BADOLATO, in a text message exchange, discussed
how that message would help drive fundraising and opt-ins by prior
donors because it would, as BADOLATO stated, become “the most
talked about media narrative ever” since it “removes all selif-
interest taint” and “gives [B] rian Kolfage saint hood.” For that
reason, BADOLATO insisted that the statement that KOLFAGE swill
not take a penny of compensation” be included in the email to We
Build the Wall‘s donors about the opt-in process, explaining in an
email that this statement was a ‘material item” to donors.

14, Moreover, in addition to statements that BRIAN
KOLFAGE, the defendant, would not be “paid a dime,” KOLFAGE,
STEPHEN BANNON, and ANDREW BADOLATO, the defendants, conveyed that
others in the leadership of We Build the Wall and its advisory
poard (which BANNON chaired) would not ‘be compensated. For
example, KOLFAGE wrote on social media, “I thought it was pretty
clear. I made a promise that.I would NEVER take a penny 100% of
Fundraising through. . - donations will only go towards the wall.
100% means .100% right? Board won't see any of that money!”
Moreover, during interviews and We Build the Wall events, BANNON
himself stated, “I did this kind of as a volunteer” and “we're @
volunteer organization.”

15. Donors took notice of this core narrative and told

BRIAN KOLFAGE, the defendant, and others working for We Buiid the
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Wall that it mattered to them. Some of those donors wrote directly
to KOLFAGE that they did not have a lot of money and were skeptical
about online fundraising campaigns, but they were giving what they
could because they trusted KOLFAGE would keep his word about how
their donations would be spent. KOLFAGE also wrote to prospective
donors who raised concerns, assuring the donors in private messages
that he was not being compensated,

16. These false assurances successfully induced donors
to give money to We Build the Wall and to opt in to have their
prior donations transferred to We Build the Wall’s new non-profit
entity. Of the original $20,000,000 raised from hundreds of
thousands of donors, most of the donors agreed to opt in” and
allow their donations to be transferred to We Build the Wall under
the false premise that “100% of fundraising through. - . donations
will only go towards the wall” and that BRIAN KOLFAGE, the
defendant, would not take any compensation for his work.
Moreover, We Build the Wall continued to raise new funds Eom
additional donors based on those false representations. In total,
between the beginning of the “opt in’ period in January 2019 and
October 2019, We Buiid the Wall raised approximately $25,000,000
in new or opted-in donor funds, under the false assurance that

100 percent of money donated would go to construction of the wall.
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The Defendants’ ¢elf-Enrichment from We Build the Wall’s Funds

17. pespite these repeated assurances, the public
narrative deliberately crafted by BRIAN KOLFAGE, STEPHEN BANNON,
and ANDREW BADOLATO, the defendants, and others, was false. In
fact, although We Build the Wall spent money on the construction
of a border wail, hundreds of thousands of dollars were siphoned
out of We Build the Wall for the personal use and benefit of
KOLFAGE, BANNON, BADOLATO, and TIMOTHY SHEA, the defendant.
Indeed, despite KOLFAGE’s mumerous public statements that he was
not taking a salary oF getting a penny in compensation, within
days of launching We Build the Wall, KOLFAGE , working primarily
with BANNON and BADOLATO, reached a secret agreement whereby
KOLFAGE would be covertly paid “$100k upfront [and] then 20 [per]
month.” Because that arrangement was directly contrary to the
defendants’ repeated public representations, KOLFAGE, BANNON,
BADOLATO, SHEA, and others schemed to pass these payments to
KOLFAGE indirectly from We Build the Wali through third parties,
including entities under the control of BANNON and SHEA.

18. To preserve the secrecy of the arrangement to pay
BRIAN KOLFAGE, the defendant, with We Build the Wall's donor funds,
STEPHEN BANNON, the defendant, agreed to pass payments from We
Build the Wall to KOLFAGE through Non-Profit-1, which, as noted
above, Was controlled by BANNON, with the assistance of ANDREW

BADOLATO, the defendant, and others. In approving that
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arrangement, BANNON made clear in a text message to BADOLATO that
there would be “no deals I don't approve,” and directed that
KOLFAGE be paid indirectly through Non-Profit-1 in an attempt to
conceal the payments from the public, notwithstanding the fact
that KOLFAGE did no work for Non-Profit-1 and that the payments
From Non-Profit-1 to KOLFAGE would be funded by We Build the Wail.

19, Consistent with that acheme , on or around
February 11, 2019, STEPHEN BANNON and ANDREW BADOLATO, the
defendants, caused Non-Profit-1 to pay BRIAN KOLFAGE, the
defendant, $100,000 in funds from We Build the Wall. Text messages
exchanged between BANNON and BADOLATO, and others, confirm the
payment was intended as a salary for KOLFAGE and that the payment
would be funded by We Build the Wall. In particular, in the days
prior to the payment, BANNON directed BADOLATO in a text message
to send a “wire of cash to [Non-Profit-1]” from We Build the Wall,
and shortly thereafter Non-Profit-1's bank account received a
$250,000 wire from We Build the Wall. No more than a week later,
that same bank account was used to make a §100,000 wire transfer
to KOLFAGE. tn each of the following two months, BANNON again
paid KOLFAGE - each time, a $20,000 monthly salary payment,
consistent with the secret deal BANNON had approved, as described
above - using funds that had been wired into Non-Profit-1's bank
account from We Build the Wall shortly before the payment to

KOLFAGE. When KOLFAGE later noted in a text message to BADOLATO
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that, at least in part as a result of these pass-through payments,
We Build the Wall would have to disclose substantial payments to
Non-Profit-1 on tax forms, BADOLATO replied, “Better than you or
me lol.” To conceal the payments KOLFAGE received from Non-
Profit-1, KOLFAGE instructed BADOLATO that the payments should be
made to KOLFAGE’s spouse, and Non-Profit-1 subsequently issued 4
Form 1099 falsely stating that it had paid KOLFAGE’s spouse for
“media.” |

20. Thereafter, beginning in or around April 2019, and
to further conceal payments of We Build the Wall funds to BRIAN
KOLFAGE, the defendant, his secret monthiy salary of approximately
$20,000 was passed indirectly through other third-party entities
that were purported vendors for We Build the Wall, including one
under the control of TIMOTHY SHEA, the defendant. Starting in or.
around March 2019, SHEA - who had been involved in early operations
of the predecessor campaign to We Build the Wall, and was familiar
with We Build the Wall’s repeated promises that KOLFAGE, in
‘particular, would take no salary - proposed, in a text message
exchange with KOLFAGE, paying KOLFAGE and himself out of a “veiled”
shell corporation to conceal the source arid nature of the payments.
SHEA suggested that to conceal transactions where, for instance,
“600k comes in and [he] transfers 300k” to KOLFAGE, they could
‘ereate companies that... - hired [KOLFAGE and SHEA] . . . fora

service,” like “consulting.” To further conceal the secret
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arrangement, KOLFAGE later told SHEA in an email that they could
falsely describe the payments from the. new shell entity to KOLFAGE
as for “social media.”

21. Consistent with the scheme detailed above, in or
around April 2019, TIMOTHY SHEA, the defendant, incorporated an
anonymous limited liability corporation (“Shell Company-1i"), and
then began receiving payments from We Build the Wall, a share of
which SHEA then paid over to BRIAN KOLFAGE, the defendant. For
example, on or around April 22, 2019, Shell Company-1 received a
$50,000 wire from We Build the Wall, and four days later paid half
of that amount to KOLFAGE. Again, on or around May 21, 2019,
Shell Company-1 received a $30,000 wire from We Build the Wall,
and on or around June 5, 2019, paid $20,000 to KOLFAGE. The memo
lines on these payments from We Build the Wall to Shell company-1
falsely stated, as KOLFAGE had suggested, that they were for
“social media” accounts and pages when, in fact, neither KOLFAGE
nor anyone else had done such work for Shell Company-1. In each
instance, SHEA kept the remaining balances of money. Moreover,

additional $20,000 payments from Shell Company-1 to KOLFAGE, and

funded by money from We Build the Wall, were made in subsequent —

months until at least October 2019, when, as discussed below, the

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defendants learned that they might be under criminal
investigation.

22. In addition to the payments above, ANDREW BADOALTO,
the defendant, also arranged for additional $20,000 salary
payments to be made from We Build the Wall to BRIAN KOLFAGE, the
defendant, that were passed through bank accounts under the control
of two of BADOLATO’s associates. First, in or around June 20139,
and to pay KOLFAGE’ s $20,000 salary from We Build the Wall for the
month of June 2019, BADOLATO gave a $50,000 check. from We Build
the Wall to an associate (“Associate-1") purportedly for work done
for We Build the Wall. Associate-1 then cashed the check and paid
$20,000 of the funds to KOLFAGE, keeping the balance.
Additionally, in or around late July and early August 2019,—
BADOLATO caused We Build the Wall to pay over $150,000 to a
construction contractor (“Associate-2”). Associate-2 then paid
$70,000 of those funds to KOLFAGE, another $50,000 of those funds
to BADOLATO, and §20,000 to an attorney working on a matter for
BADOLATO unrelated to We Build the Wali.

23. In total, from the creation of We Build the Wall in
January 2019 to in or around October 2019, BRIAN KOLFAGE, the
defendant, received more than $350,000 in donor funds from We Build
the Wall, all passed indirectly at the direction and with the
assistance of STEPHEN BANNON, ANDREW BADOLATO, and TIMOTHY SHEA,

the defendants, through Non-Profit-1, Shell Company-1, and the
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accounts controlled by associate-1 and Associate-2. KOLFAGE then
used those funds to pay for his own personal expenses, including,
among other purposes, home renovations, payments toward a boat, a
luxury SUV, a golf cart, jewelry, cosmetic surgery, personal tax
payments, and eredit card debt.

24. Moreover, in- addition to BRIAN KOLFAGE, the
defendant, STEPHEN BANNON, ANDREW BADOLATO, and TIMOTHY SHEA, the
defendants, each received hundreds of thousands of dollars in donor
funds from We Build the Wall, which they each used to pay for a
variety of personal expenses, including, among other things,
travel, hotels, consumer goods, and personal credit card debts, in
addition to the payments described above to KOLFAGE. With respect
to BANNON, in particular, as noted above, Non-Profit-1 received
over $1,000,000 from We Build the Wall, and while some of that
money was used to pay KOLFAGE, ag detailed. above, BANNON used a
substantial portion of those donor funds for personal uses and
expenses unrelated to We Build the Wall.

25. None of these payments to BRIAN KOLFAGE, STEPHEN
BANNON, ANOREW BADOLATO, and TIMOTHY SHEA, the defendants, were
ever disclosed to the public. Instead, the defendants repeatedly
and intentionally led the public to believe that none of their
donations would be used for the personal benefit of the defendants.

Indeed, as KOLFAGE noted to BADOLATO in a text message exchange,

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“lals far as [the public] know[s] no one is getting paid” and
“[g]alaries will never be disclosed.”

The Defendants’ Concealment After Learning of the Criminal
Investigation

 

26. In or around October 2019, BRIAN KOLFAGE, STEPHEN
BANNON, and ANDREW BADOLATO, the defendants, and others learned
from a financial institution that We Build the Wall might be under
federal criminal investigation. The defendants thereafter took
additional steps to conceal the fraudulent scheme detailed above.
For example, around that time, and in reaction to the potential
investigation, KOLFAGE and BADOLATO began using encrypted
messaging applications on their phones, and We Build the Wali’s
website was changed to remove any mention of the promise that
KOLFAGE was not being compensated and to add a statement that he
would be paid a salary starting in January 2020. KOLFAGE also
stopped receiving secret salary payments after this date.

Statutory Allegations

27. From at least in or around December 2018 up to and
including the date of the filing of this Indictment, in the
Southern District of New York and elsewhere, BRIAN KOLFAGE, STEPHEN
BANNON, ANDREW BADOLATO, and TIMOTHY SHEA, the defendants, and
others Inown and unknown, willfully and knowingly, did combine,

conspire, confederate, and agree together and with each other to

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commit wire fraud, in violation of Title 18, United States Code,
Section 1343.

28. Tt was a part and object of the conspiracy that
BRIAN KOLFAGEH, S'TEPHEN BANNON, ANDREW BADOLATO, and TIMOTHY SHEA,
the defendants, and others known and unknown, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud and for obtaining money and property by means
of false and fraudulent pretenses, representations, and promises,
would and-did transmit and cause to be transmitted by means of
wire, wradio, and television communication in interstate and
foreign commerce, writings, signs, signals, pictures, and sounds
for the purpose of executing such scheme and artifice, in violation
of Title 18, United States Code, Section 1343, to wit, KOLFAGE,

BANNON, BADOLATO, SHEA, and others known and unknown, agreed to

make and caused to be made false statements to donors that.

100 percent of the Funds donated to We Build the Wall would be
used for construction of a wall at the southern border of the
United States, and that none of the money donated would be used to
compensate KOLFAGE.

29. It further was a part and object of the conspiracy
that BRIAN KOLFAGE, STEPHEN BANNON, and ‘ANDREW BADOLATO, the
defendants, and others known and unknown, willfully and knowingly,
having devised and intending to devise a scheme and artifice to

defraud and for obtaining money and property by means of false and
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fraudulent pretenses, representations, and promises, would and did
transmit and cause to be transmitted by means of wire, radio, and
television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and gounds for the purpose of
executing such scheme and artifice, in violation of Title 18,
United States .Code, Section 1343, to wit, KOLFAGE, BANNON,
BADOLATO, and others known and unknown, agreed to make and caused
to be made false statements to the Crowdfunding Website about their
intended use of donated funds and their intent to implement and
adhere to internal controls designed to prevent the
misappropriation of money in order to cause the Crowd£unding
Website to release donor funds held by the Crowdfunding Website to
the defendants.
(Title 18, United States Code, Section 1349.)

COUNT TWO
(Conspiracy to Commit Money Laundering)

The Grand Jury further charges:

30. The Grand Jury incorporates the allegations
contained in paragraphs 1 through 26 of this Indictment as though
fully set forth herein.

31. From at least in ox around December 2018 up to and
including the date of the filing of this Indictment, in the
Southern District of New York and elsewhere, BRIAN KOLFAGE, STEPHEN

BANNON, ANDREW BADOLATO, and TIMOTHY SHEA, the defendants, and

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others known and unknown, intentionally and knowingly did combine,
conspire, confederate, and agree together and with each other to
violate Title 18, United States Code, Sections 1956 (a) (1) (B) (i)
and 1957 (a).

32, It was a part and an object of the conspiracy that
BRIAN KOLFAGE, STEPHEN BANNON, ANDREW BADOLATO, and TIMOTHY SHEA,
the defendants, and others known and unknown, in an offense
involving interstate and foreign commerce, knowing that the
property involved in certain financial transactions, to wit, wire
transfers and checks, represented the proceeds of some form of
unlawful activity, would and did conduct and attempt to conduct
guch financial transactions, which in fact involved the proceeds
of specified unlawful activity, to wit, the conspiracy to commit
wire fraud alleged in Count One of this Indictment, knowing that
the transactions were designed in whole and in part to conceal and
disguise the nature, the location, the source, the ownership, and
the control, of the proceeds of the specified unlawful activity,
in violation of Title 18, United States Code,
Section 1956 (a) (1) (B) (i).

33. It was a further part and an object of the
conspiracy that BRIAN KOLFAGE, STEPHEN BANNON, ANDREW BADOLATO,
and TIMOTHY SHEA, the defendants, and others known and unknown,
within the United States, knowingly would and did engage and

attempt to engage in monetary transactions in criminally derived
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property of a value greater than $10,000 and that was derived from
specified unlawful activity, to wit, the conspiracy to commit wire
fraud alleged in Count One of thig Indictment, in violation of
Title 18, United States Code, Section 1957 (a).

(Title 18, United States Code, Section 1956{h).)

FORFELTURE ALLEGATIONS
34, As a result of committing the offense alleged in

Count One of this Indictment, BRIAN KOLFAGE, STEPHEN BANNON, ANDREW
BADOLATO, and TIMOTHY SHEA, the defendants, shall forfeit to the
United States, pursuant to Title 18, United States Code,
Section 981 (a) (1) (C) and Fitle . 28 United States Code,
Section 2461(c), any and all property, real and personal, that
constitutes or is derived from proceeds traceable to the commission
of said offense, including but not Limited to a sum of money in
United States currency representing the amount. of proceeds
traceable to the commission of said offense and the following
specific property:

a. “any and all funds contained in FirstBank account
number 2021299187 held in the name of WeBuildtheWall, Inc.;

b. Any and all funds contained in Capital One account
number 3027095806 held in the name of WeBuildtheWall, Inc.

Cc. Any and all funds contained in Bank First account

number 18038943 held in the name of WeBuildthewWall, Inc.;

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d. Any and all funds contained in Wells Fargo Bank
account number 3536261401 held in the name of Citizens of the
American Republic;

e. Any and all funds contained in US Bank account
number 103685954630 held in the name of Ranch Property Marketing
& Management LLC;

£. Any and all funds contained in Wells Fargo Bank
account number 3033354584 held in the name of Freedom Daily LLC;

gq. Any and all funds contained in PenFed Credit Union
account number 7218209026 held in the name of Brian Kolfage;

h. Any and all funds contained in Bank First account
number 3746617009 held in the name of America First Medical LLC;

i. Any and all funds contained in Capital One account
number 18046276 held in the name of America First Medical LLC;

j- any and all funds contained in sunTrust Bank
account number 1000212076664 held in the name of White Knights &
Vultures LiC;

k. Any and all funds contained in US Bank account
number 103682158292 held in the name of Timothy Shea;

l. The real property described as a 2019 Jupiter
Marine boat named “Warfighter”; and

m. the real property described as a 2018 Land Rover

Range Rover with vehicle identification number SALGSSREITA500442.

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35. As a result of committing the offense alleged in
Count Two of this Indictment, BRIAN KOLFAGE, STEPHEN BANNON, ANDREW
BADOLATO, and TIMOTHY SHEA, the defendants, shali forfeit to the
United States, pursuant to Title 18, United States Code,
Section 982(a) (1), any and all property, real and personal,
involved in said offense, or any property traceable to such
property, including but not limited to a sum of money in United
States currency representing the amount of property involved in
said offense and the specific property enumerated in paragraph
34 (a) through (m).

Substitute Assets Provision

36. If any of the above-described forfeitable property, —

as a result of any act or omission of the defendants: {a} cannot
be located upon the exercise of due diligence; (b) has been
transferred or sold to, or deposited with, a third person; (c) has
been placed beyond the jurisdiction of the Court; {(d) has been
substantially diminished in value; or (e) has been commingled with
other property which cannot he subdivided without difficulty; it
ig the intent of the United States, pursuant to Title 21, United

States Code, Section 853(p) and Title 28, United States Code,

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Section 2461(c), to seek forfeiture of any other property of the
defendants up to the value of the above forfeitable property.
(Title 18, United States Code, Section 982;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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Acting United States Attorney
Case 1:20-cr-00412-AT Document 2 Filed 08/17/20 Page 24 of 24

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
onl Vv. _
BRIAN KOLFAGE,
STEPHEN BANNON,

ANDREW BADOLATO, and
TIMOTHY SHEA,

Defendants.

 

SEALED INDICTMENT

20 Cr.

18 U.§.C. §§ 1349 and 1956 (h)

AUDREY STRAUSS
Acting United States Attorney

A TRUE BILL

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